                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                              ROANOKE DIVISION

ALBERT STEVEN TATE,                                     )
    Plaintiff,                                          )
                                                        )    Civil Action No. 7:18cv00044
v.                                                      )    MEMORANDUM OPINION
                                                        )
MAJOR BRIAN PARKS,                                      )   By: Hon. Pamela Meade Sargent
   Defendant.                                           )   United States Magistrate Judge
                                                        )

        Albert Steven Tate, (“Tate”), an inmate previously housed in the Southwest
Virginia Regional Jail, (“SWVRJ”), in Duffield, Virginia, (“the Jail”),1 filed this
case, pro se, pursuant to 42 U.S.C. § 1983. By Amended Complaint, (Docket Item
No. 32),2 Tate sues SWVRJ employee Major Brian Parks,3 Chief of Security at the
Jail.


        This matter is before the court on the Defendant’s Motion For Summary
Judgment, (Docket Item No. 39) (“Motion”). The plaintiff has responded to the
Motion, (Docket Item No. 59),4 and the defendant has filed a reply, (Docket Item
No. 63). Therefore, the Motion is ripe for decision.




        1
            Tate currently is housed at Keen Mountain Correctional Center.
        2
            Tate’s Amended Complaint is neither sworn nor made under penalty of perjury.
        3
         In his Amended Complaint, Tate also sued Major George Hembree, but, by Order dated
July 2, 2018, Hembree was terminated as a defendant pursuant to FED. R. CIV. P. R. 21. (Docket
Item No. 33.
        4
            Tate’s response to the Motion is neither sworn nor made under penalty of perjury.

                                                  -1-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 1 of 21 Pageid#: 656
                                          I. Facts5


       In his Amended Complaint and response to the Motion, Tate alleges various
constitutional violations, including violations of his procedural due process rights
and equal protection rights under the Fourteenth Amendment and violations of his
First Amendment rights.


       The undisputed facts in this case are as follows. Tate was transferred to the
Jail on August 4, 2016, and placed in segregation as a pretrial detainee while
awaiting trial on charges of rape, sexual assault and forcible sodomy out of the
Circuit Court in Scott County, Virginia. (Docket Item No. 40-1 at 2.) On or about
August 15, 2016, he sent a coded letter to his wife, outlining an escape plan and
seeking her assistance to escape custody during an upcoming bond hearing at the
Scott County Circuit Court. (Docket Item No. 40-2 at 2-7.) Tate’s wife refused to
help with this attempt. The Commonwealth’s Attorney for Scott County was
alerted to the escape plan, and Tate was confronted with this letter at a September
8, 2016, bond hearing. Tate does not dispute that he wrote the letter. He was
charged with felony attempted prisoner escape in Scott County Circuit Court, to
which he ultimately pleaded guilty on May 26, 2017. (Docket Item No. 40-2 at 11-
17; Docket Item No. 40-4 at 2-5.) Upon his return to the Jail following the
September 8 bond hearing, Tate was placed in the Special Housing Unit, (“SHU”),
in administrative segregation. (Docket Item No. 40-1 at 3.) As a result of Tate’s
use of the mail to aid in his attempted escape plan, the Jail began to inspect his
outgoing nonlegal mail. (Docket Item No. 40-1 at 2.) On January 25, 2018, Tate


       5
          Because Tate is proceeding pro se, his Amended Complaint will be construed liberally.
See Haines v. Kerner, 404 U.S. 519, 520 (1972) (allegations of pro se complainants are held to
less stringent standards than formal pleadings drafted by lawyers).

                                              -2-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 2 of 21 Pageid#: 657
pleaded guilty to the crimes for which he was originally being held at the Jail, and
on January 30, 2018, he was sentenced for these crimes. (Docket Item No. 40-1 at
3.) On February 2, 2018, Tate was removed from the SHU to maximum security
housing. (Docket Item No. 40-1 at 3.) He was thereafter transferred to the Virginia
Department of Corrections on April 26, 2018. (Docket Item No. 40-1 at 2.)


      In support of his claims, Tate has supplied the court with several Request
For Information forms, (hereafter, “Request(s)”), directed to various individuals,
including Defendant Parks. Tate alleges that, as a pretrial detainee at the Jail, he
had a right under the Fourteenth Amendment to be free of any type of punishment.
In his Amended Complaint, he states that when he was transferred to the Jail on
August 4, 2016, as a pretrial detainee, he was placed in segregation without any
explanation. He further alleges that, on September 8, 2016, after returning from the
bond hearing, he was placed in administrative segregation in the SHU as a form of
punishment for the alleged escape attempt, all while still a pretrial detainee. On
October 5, 2016, Tate sent Parks a Request about being moved out of “protective
custody” and into a pod. (Docket Item No. 59-1 at 1.) Parks responded on October
7, 2016, stating that Tate was not on protective custody, but in the SHU, as the
result of an administrative decision based on the attempted escape charge, which
made him a security threat. (Docket Item No. 59-1 at 1.) Also on October 7, 2016,
Tate sent Parks another Request, asking for access to the “computer” to research
case specifics regarding his alleged charges. (Docket Item No. 59-1 at 2.) Parks
responded on October 11, 2016, stating that, in the SHU, Tate could have access to
Black’s Law Dictionary. (Docket Item No. 59-1 at 2.) On October 13, 2016, Tate
sent a Request to Parks, inquiring why he remained in the SHU, as a security
threat, when another inmate received a plea deal for escape charges and was
transferred out of the SHU. (Docket Item No. 59-1 at 5.) Parks responded on

                                        -3-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 3 of 21 Pageid#: 658
October 18, 2016, that he could not discuss another inmate’s housing assignment
or circumstances with Tate. Parks further advised Tate that Tate had a pending
escape charge and that his situation may be reevaluated once he was found either
innocent or guilty thereof. (Docket Item No. 59-1 at 5.) On January 31, 2017, Tate
sent at Request to Parks asking for the same privileges as inmates in another
housing unit, including television, paper, commissary, books and “2 hours out
time.” (Docket Item No. 59-1 at 8.) On February 1, 2017, Parks responded that
inmates housed in the SHU, regardless of the reason, are all subject to the same
restrictions. On June 4, 2017, Tate sent a Request to Counselor Hill, asking that the
law library be brought to the sallyport door to allow him access to it. (Docket Item
No. 59-1 at 3.) Counselor Hill responded on June 5, 2017, that the law library was
not available in “8B,” where Tate was housed, but advised him that he may use
Black’s Law Dictionary by requesting it from Lt. Hayes. (Docket Item No. 59-1 at
3.) Also on June 4, 2017, Tate sent a Request to Parks, stating he had a
constitutional right to access to the law library. (Docket Item No. 59-1 at 4.) He
requested again that the “computer” be brought to the sallyport area. Parks
responded on June 8, 2017, advising him to contact Counselor Hill. (Docket Item
No. 59-1 at 4.)


      On May 10, 2017, Tate sent a Request regarding changing his housing status
since there were inmates convicted of escape housed in the work pod. (Docket
Item No. 59-1 at 11.) Parks responded on May 15, 2017, stating that Tate’s escape
charge was not a housing charge, but that he was charged criminally in Scott
County Virginia. He further stated that as long as Tate was housed in the SHU, he
was subject to any and all restrictions placed on other inmates. (Docket Item No.
59-1 at 11.) On May 12, 2017, Tate sent a Request to Parks, asking that if Tate
required a higher security status and was such a threat, why were other inmates,

                                         -4-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 4 of 21 Pageid#: 659
who had been charged with escape and “pending escape,” whom he specifically
named, allowed to be housed in the work pod, minimum, medium and maximum
housing units. (Docket Item No. 59-1 at 14.) On May 15, 2017, Parks responded
that he could only speak to Tate regarding his situation, and he could not discuss
other inmates with Tate. (Docket Item No. 59-1 at 14.) On May 18, 2017, Tate sent
another Request to Parks, stating that there were other inmates with escape charges
out of Scott County who were housed in other pods. (Docket Item No. 59-1 at 15.)
Tate asked why he was being kept in the SHU. On May 22, 2017, Parks responded,
advising Tate that it was his own actions which placed him in the SHU and which
ensured that he would remain incarcerated until the judge either released him or he
had served whatever sentence he ultimately received. (Docket Item No. 59-1 at
15.) He further advised Tate that he had an obligation to provide and promote
public safety. Also on May 22, 2017, Parks advised Tate that either he or Major
George Hembree would decide when, or if, Tate would be moved out of the SHU.
(Docket Item No. 59-1 at 17.) On May 26, 2017, Parks informed Tate that it had
been explained to him why he was housed in the SHU. (Docket Item No. 59-1 at
18.) Parks further stated that the SHU is different than maximum housing. He also
stated that he, as Chief of Security, made the determination regarding Tate’s
housing status and that Tate would be notified when a change occurred. On June 2,
2017, Parks stated that there was no timeline for how long Tate would remain in
the SHU on administrative segregation, but when it changed, Tate would be
notified. (Docket Item No. 59-1 at 21.)


      In a May 26, 2017, Request to “Mail,” Tate stated that on the back of an
envelope of a piece of his mail, it was stamped as follows: “This outgoing mail has
not been censored or searched by the SWVRJA,” and he asked if this was correct.
(Docket Item No. 59-1 at 29.) The response on May 30, 2017, was that this was

                                          -5-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 5 of 21 Pageid#: 660
correct and that all outgoing mail is stamped. (Docket Item No. 59-1 at 29.) In
another Request to “Inmate Accounts / Mail,” on May 30, 2017, Tate asked why, if
the envelopes are so stamped, was his mail opened and copies made when he did
not get an order from the judge in a search warrant, thereby making the stamp a lie.
(Docket Item No. 59-1 at 30.) In a response, dated May 31, 2017, it is stated that
mail is not illegally tampered with. (Docket Item No. 59-1 at 30.) While Tate sent
another Request to “Inmate Accounts / Mail,” dated May 31, 2017, it is unclear
exactly what he is seeking. It appears, however, that he is disputing that his
outgoing mail was not tampered with. (Docket Item No. 59-1 at 31.) On June 2,
2017, the response6 states that no rights were violated. (Docket Item No. 59-1 at
31.) In his Amended Complaint, Tate states that the Commonwealth’s Attorney
handed him a letter during court which stated on both the front and back “Rec’d 5-
25-17.” However, this letter had not been processed by the United States Postal
Service. Also, Tate stated that the back of the letter had not been stamped by the
Jail. Tate alleges that, in a court response, Parks stated that it was the recipient who
had taken the letter to the Commonwealth’s Attorney and copied it for them,
which, according to Tate, would not be possible since the letter had no proof of
being scanned and delivered by the United States Postal Service. On June 12,
2017, Parks responded to a Request, asking why outgoing mail was opened and
resealed, then stamped “the contents have not been searched by SWVRJA.”
(Docket Item No. 59-1 at 32.) Parks stated that no laws were violated and that mail
was not searched. (Docket Item No. 59-1 at 32.) He further stated that outgoing
mail is considered property of SWVRJA until it is delivered to the United States
Post Office. (Docket Item No. 59-1 at 32.)


       6
        The signature of the individual responding to all of these Requests to “Mail” or “Inmate
Accounts / Mail” is the same, but is illegible. What is clear is that it is not the signature of
Defendant Parks.

                                              -6-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 6 of 21 Pageid#: 661
      In support of his Motion, Parks has submitted an affidavit from Jeannie
Patrick, (Docket Item No. 40-1, “Patrick Affidavit”), the Administrative Lieutenant
at the Jail. According to Patrick, administrative special housing is not a punitive or
disciplinary measure. (Patrick Affidavit at 1.) Instead, administrative special
housing is utilized if an inmate is pending investigation of a serious violation of
facility rules, poses a security threat to the facility or other inmates, is pending
investigation for a criminal act while incarcerated as an inmate in the facility,
requires admission to ensure the inmate’s protection (at the request of the inmate or
based on the staff’s determination), is pending transfer to another facility or return
to the participating jurisdiction or has been classified as needing more intense
supervision due to behavior. (Patrick Affidavit at 1-2.) Tate was housed at the Jail
from August 4, 2016, until April 26, 2018, when he was transferred to the Virginia
Department of Corrections. (Patrick Affidavit at 2.) Tate was housed at the Jail on
criminal charges of rape, sexual assault and forcible sodomy in Scott County
Circuit Court. (Patrick Affidavit at 2.) On or about August 15, 2016, Tate sent a
letter to his wife, which included requests, in code, for her to assist him in escaping
from custody. (Patrick Affidavit at 2.) This letter was forwarded by Tate’s wife to
the Scott County Commonwealth’s Attorney. (Patrick Affidavit at 2.) The Jail did
not censor, delete, redact, alter or otherwise fail to deliver any of Tate’s legal or
nonlegal mail. (Patrick Affidavit at 2.) As a result of Tate’s escape attempt and use
of the mail to facilitate this attempted escape, all of Tate’s nonlegal mail was
inspected prior to being placed in the mail. (Patrick Affidavit at 2.) Defendant
Parks is not personally involved in the inspection of Tate’s or any other inmate’s
mail. (Patrick Affidavit at 2.)


      On September 8, 2016, a bond hearing was held in Tate’s criminal case.
(Patrick Affidavit at 2.) As a result of Tate’s escape plan, he was charged with

                                          -7-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 7 of 21 Pageid#: 662
attempted felony prisoner escape, to which he ultimately pleaded guilty on May
26, 2017. (Patrick Affidavit at 2.)


      The Jail uses a points-based classification system to determine an inmate’s
security classification. (Patrick Affidavit at 3.) All inmates are administratively
classified using this points-based system. (Patrick Affidavit at 3.) The system takes
into account the severity of the inmate’s current charges, serious offense history,
escape history, institutional disciplinary history, prior felony convictions, alcohol
or drug abuse history and stability factors. (Patrick Affidavit at 3.) Tate’s points-
based security classification placed him in the highest classification level of
“maximum.” (Patrick Affidavit at 3.) In conjunction with his security classification
of maximum, Tate’s escape attempt necessitated his housing in administrative
special housing, as he was deemed to be an escape risk and a security threat,
warranting additional supervision provided there. (Patrick Affidavit at 3.)


      On February 27, 2017, Tate was ordered to mental health treatment after the
Scott County Circuit Court found him incompetent to stand trial. (Patrick Affidavit
at 3.) He was housed at the State Hospital in Petersburg, Virginia, from March 7,
2017, until April 14, 2017, when he returned to the Jail. (Patrick Affidavit at 3.)
Tate was housed in medical housing from April 18 until April 19, 2017, for
suicidal gestures and/or ideations. (Patrick Affidavit at 3.) On September 3, 2017,
Tate’s cell was searched in accordance with Jail policy. (Patrick Affidavit at 3.)
The search revealed that Tate was in possession of tobacco and three Suboxone
pills, the possession of which is a violation of the inmate code of conduct and Jail
rules. (Patrick Affidavit at 3.) On January 25, 2018, Tate pleaded guilty to the
initial criminal charges of rape, sexual assault and forcible sodomy and was
sentenced on January 30, 2018. (Patrick Affidavit at 3.) Following Tate’s guilty

                                         -8-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 8 of 21 Pageid#: 663
pleas and sentencing, an administrative classification evaluation resulted in him
being taken off of administrative special housing status on February 2, 2018.
(Patrick Affidavit at 3.)


                                     II. Analysis


      Defendant Parks argues that, pursuant to Federal Rules of Civil Procedure
Rule 56, he is entitled to judgment as a matter of law on all of Tate’s claims
against him. For the reasons that follow, I agree.


      Pro se complaints, such as the one filed by Tate, are held to a less stringent
standard then those drafted by counsel. See Haines, 404 U.S. at 520; Gordon v.
Leeke, 574 F.2d 1147, 1151 (4th Cir. 1978). Furthermore, the court should liberally
construe a complaint filed by a pro se litigant to allow the development of a
potentially meritorious case. See Hughes v. Rowe, 449 U.S. 5, 9-12 (1980). The
requirement to liberally construe a pro se complaint does not mean, however, that
the court may ignore a clear failure to plead sufficient facts to support a cognizable
claim. See Weller v. Dep’t of Soc. Servs., 901 F.2d 387, 391 (4th Cir. 1990).


      Defendant Parks’s Motion is supported by Patrick’s affidavit and attached
exhibits. With regard to a motion for summary judgment, the standard for review is
well-settled. The court should grant summary judgment only when the pleadings,
responses to discovery and the record reveal that “there is no genuine dispute as to
any material fact and the movant is entitled to a judgment as a matter of law.” FED.
R. CIV. P. 56(a); see, e.g., Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986);
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986); Matsushita Elec. Indus.
Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986). A genuine dispute of

                                          -9-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 9 of 21 Pageid#: 664
material fact exists “if the evidence is such that a reasonable jury could return a
verdict for the nonmoving party.” Anderson, 477 U.S. at 248. In considering a
motion for summary judgment, the court must view the facts and the reasonable
inferences to be drawn from the facts in the light most favorable to the party
opposing the motion. See Anderson, 477 U.S. at 255; Matsushita, 475 U.S. at 587.
In order to be successful on a motion for summary judgment, a moving party "must
show that there is an absence of evidence to support the non-moving party's case"
or that "the evidence is so one-sided that one party must prevail as a matter of
law." Lexington-South Elkhorn Water Dist. v. City of Wilmore, Ky., 93 F.3d 230,
233 (6th Cir. 1996). When a motion for summary judgment is made and is properly
supported by affidavits, depositions or answers to interrogatories, the nonmoving
party may not rest on the mere allegations or denials of the pleadings. See Oliver v.
Va. Dep’t of Corrs., 2010 WL 1417833, at *2 (W.D. Va. Apr. 6, 2010) (citing FED.
R. CIV. P. 56(e)). Instead, the nonmoving party must respond by affidavits or
otherwise and present specific facts from which a jury could reasonably find for
either side. See Anderson, 477 U.S. at 256-57.


      Tate argues that he was denied his procedural due process rights under the
Fourteenth Amendment by being placed in administrative segregation as a
punishment while a pretrial detainee at the Jail. Tate is correct that, under the
Fourteenth Amendment, “the pretrial detainee, who has yet to be adjudicated guilty
of any crime, may not be subjected to any form of ‘punishment.’” Martin v.
Gentile, 849 F.2d 863, 870 (4th Cir. 1988) (quoting City of Revere v. Mass. Gen.
Hosp., 463 U.S. 239, 244 (1983)). “By definition, pretrial detainees have not been
convicted of the crimes with which they are charged.” Dilworth v. Adams, 841
F.3d 246, 251 (4th Cir. 2016). Therefore, the Supreme Court held in Bell v. Wolfish,
they retain a liberty interest in freedom from “punishment,” even while they are

                                        -10-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 10 of 21 Pageid#: 665
detained to ensure their presence at trial. Dilworth, 841 F.3d at 251 (quoting 441
U.S. 520, 535-37 (1979)). Though “[l]oss of freedom of choice and privacy are
inherent incidents” of pretrial detention, discrete “punitive measures” imposed
during pretrial detention intrude on a protected liberty interest. Dilworth, 841 F.3d
at 251 (quoting Bell, 441 U.S. at 537); Surprenant v. Rivas, 424 F.3d 5, 17 (1st Cir.
2005) (“Pretrial detainees, unlike convicts, have a liberty interest in avoiding
punishment[.]”); Martin, 849 F.2d at 870 (finding pretrial detainees are protected
with respect to “any form of ‘punishment’”) (emphasis in original).


      It is important to note that the Fourth Circuit Court of Appeals has held that
the “atypical and significant hardship” standard set forth in Sandin v. Conner, 515
U.S. 472 (1995), does not govern the procedural due process claim of pretrial
detainees such as Tate. See Dilworth, 841 F.3d at 252 (citing Jacoby v. Baldwin
Cty., 835 F.3d 1338, 1348-49 (11th Cir. 2016); Hanks v. Prachar, 457 F.3d 774,
776 (8th Cir. 2006) (per curiam); Suprenant, 424 F.3d at 17; Peoples v. CCA Det.
Ctrs., 422 F.3d 1090, 1106 n.12 (10th Cir. 2005); Benjamin v. Fraser, 264 F.3d
175, 188-89 (2d Cir. 2001); Rapier v. Harris, 172 F.3d 999, 1004-05 (7th Cir.
1999); Mitchell v. Dupnik, 75 F.3d 517, 524 (9th Cir. 1996)); see also Fuentes v.
Wagner, 206 F.3d 335, 342 n.9 (3rd Cir. 2000) (holding Sandin inapplicable to
detainee convicted but not yet sentenced), cert. denied, 531 U.S. 821 (2000).
Instead, in Dilworth, the Fourth Circuit held that a pretrial detainee is entitled,
under Bell, to procedural due process in connection with any “punishment”
imposed on him by a correctional facility. See 841 F.3d at 252. That being the case,
this court must determine whether Tate’s placement in administrative segregation
constitutes “punishment” within the meaning of Bell. That a “disability is imposed
for the purpose of punishment,” the Court held in Bell, may be clear from “an
expressed intent to punish on the part of detention … officials[.]” 441 U.S. at 538.

                                        -11-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 11 of 21 Pageid#: 666
If it is not, then a court still may infer an intent to punish if a “restriction or
condition is not reasonably related” to some other legitimate goal. Bell, 841 U.S. at
539; see Martin, 849 F.2d at 870 (to establish that a restriction is “punishment,” a
pretrial detainee must show “either that it was (1) imposed with an expressed intent
to punish or (2) not reasonably related to a legitimate nonpunitive governmental
objective”); Slade v. Hampton Rds. Reg’l Jail, 407 F.3d 243, 251 (4th Cir. 2005)
(same).


      Here, there is no evidence of an expressed intent to punish Tate by
Defendant Parks. In her affidavit, Patrick stated that administrative segregation is
not a punitive or disciplinary measure, but is used in various situations, including
where the inmate is pending investigation of a serious violation of facility rules,
poses a security threat to the facility or other inmates, is pending investigation for a
criminal act while incarcerated as an inmate in the facility, requires admission to
ensure the inmate’s protection (at the request of the inmate or based on the staff’s
determination), is pending transfer to another facility or return to another
jurisdiction or has been classified as needing more intense supervision due to
behavior. According to Patrick, the Jail uses a points-based classification system to
determine an inmate’s security classification. Tate’s points-based security
classification placed him in the highest classification level of “maximum.” In
conjunction with his initial security classification, his escape attempt, which
occurred very soon after his arrival at the Jail, Patrick said, necessitated Tate’s
housing in the administrative segregation unit. He was deemed to be an escape risk
and a security threat, warranting additional supervision provided in administrative
segregation. Defendant Parks’s responses to Tate’s many Requests echoed these
reasons for Tate’s placement in administrative segregation.


                                          -12-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 12 of 21 Pageid#: 667
      Furthermore, I find that the uncontradicted evidence shows that Tate’s
placement in administrative segregation was reasonably related to the legitimate
nonpunitive governmental objective of maintaining safety and security within the
Jail. Tate’s initial housing placement was “maximum” based on his serious
criminal charges of rape, sexual assault and forcible sodomy. However, within
days of arriving at the Jail, he sent a letter to his wife, seeking her assistance with
an escape plan, which was to be set in motion during an upcoming bond hearing.
Tate does not deny that he sent this letter to his wife. In fact, he pleaded guilty to a
charge as a result of this escape plan. These facts combined show a legitimate
governmental interest in housing Tate in administrative segregation, not as a
punishment, but to ensure the safety and security of the Jail. Therefore, I further
find that no intent to punish Tate may be inferred by the court from the facts
presented.


      For these above-stated reasons, I find that there is no genuine dispute of
material fact with regard to whether Tate’s placement in administrative segregation
while a pretrial detainee constituted punishment. Thus, I further find that there is
no genuine dispute of material fact with regard to whether Tate’s Fourteenth
Amendment procedural due process rights were violated by Defendant Parks in
this manner. That being the case, I will grant Parks’s Motion on this claim and
enter summary judgment in his favor.


      Tate also raises an equal protection claim under the Fourteenth Amendment
against Defendant Parks. “The purpose of the equal protection clause of the
Fourteenth Amendment is to secure every person within the State’s jurisdiction
against intentional and arbitrary discrimination.” Vill. of Willowbrook v. Olech,
528 U.S. 562, 564 (2000) (internal quotation marks and alteration omitted). The

                                          -13-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 13 of 21 Pageid#: 668
Equal Protection Clause commands that similarly situated persons be treated alike.
See City of Cleburne, Tex. v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985)
(citing Plyler v. Doe, 457 U.S. 202, 216 (1982)). To state a claim under the Equal
Protection Clause, Tate’s allegations must demonstrate: (1) “that he has been
treated differently from others with whom he is similarly situated” and (2) that the
differential treatment “was the result of intentional or purposeful discrimination.”
Morrison v. Garraghty, 239 F.3d 648, 654 (4th Cir. 2001); Latson v. Clarke, 249 F.
Supp. 3d 838, 863 (W.D. Va. 2017) (quoting King v. Rubenstein, 825 F.3d 206,
220 (4th Cir. 2016)). Only if a plaintiff establishes disparate treatment will the court
consider whether the difference in treatment is justified under the applicable level
of scrutiny. See King, 825 F.3d at 220. Although a prisoner does not forfeit his
constitutional right to equal protection by having been convicted of a crime and
imprisoned, prisoner claims under the Equal Protection Clause must be analyzed in
light of the special security and management concerns in the prison system. See
Morrison, 239 F.3d at 655 (citing Jones v. N.C. Prisoners’ Labor Union, Inc., 433
U.S. 119, 136 (1977)). For the reasons that follow, I find that Tate can show
neither of these elements of an Equal Protection claim.


       In his Amended Complaint, Tate specifically names multiple inmates whom
he alleged had escape charges and/or convictions,7 but who were not housed in
administrative segregation. Instead, Tate alleged that these inmates were housed in
the work pod, minimum housing, medium housing or maximum housing. As stated
previously, Patrick provided sworn testimony that each individual inmate’s
housing classification is determined by using a points-based system, which


       7
         It is unclear from Tate’s Amended Complaint whether these were institutional charges
or criminal charges and whether or not these inmates were actually convicted of such charges.
Additionally, Tate noted that one of the inmates was “pending escape.”

                                            -14-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 14 of 21 Pageid#: 669
considers an inmate’s escape history, and other factors, including the severity of
the inmate’s current charges, serious offense history, institutional disciplinary
history, prior felony convictions, alcohol or drug abuse history and stability
factors. Here, we know that Tate’s initial criminal charges alone placed him in the
highest classification level of “maximum.” That, in conjunction with his particular
escape attempt, necessitated his housing in administrative segregation, as he was
deemed to be an escape risk and a security threat, warranting additional
supervision provided there. While Tate claims these inmates have a history of
escape charges / convictions, he has not provided the court with the necessary
details and circumstances to find that these inmates were similarly situated to him.
For instance, the court has no way of knowing whether they were charged with
escape criminally or within the institution only. The court also does not know, for
example, whether these inmates simply walked away from a work detail. The court
also does not know each inmate’s current criminal charge, criminal history or
institutional behavior record. Such information is relevant in determining whether
these inmates were similarly situated to Tate.


      What the court does know, however, is that Tate sent a coded letter to his
wife outlining a scheme to escape from custody during a scheduled court hearing
and requesting her assistance. In part, Tate’s plan included his wife leaving a truck,
with a full tank of gas, cash in the console and keys in the ignition, near the
courthouse. (Docket Item No. 40-2 at 7.) Tate also included a hand drawn map of
the town and of the outside of the courthouse with the physical address of the
courthouse. (Docket Item No. 40-2 at 4.) There also is evidence that Tate discussed
this escape plan during phone calls with his wife from the Jail. (Docket Item No.
40-2 at 15.) If Tate’s wife had agreed to assist him with this scheme, not only
would Tate’s life have been in danger, but so would those of the transporting

                                         -15-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 15 of 21 Pageid#: 670
guards, the attorneys, the judge, courthouse staff and civilians. For these reasons,
and given the Jail’s points-based system for housing classifications, I find that
there is no genuine dispute in material fact as to whether Tate is similarly situated
with these other inmates sufficient to sustain a Fourteenth Amendment Equal
Protection claim against Defendant Parks.


         Furthermore, even if Tate could sufficiently demonstrate that he was
similarly situated with the inmates he named, I find that he has failed to show that
any differential treatment was the result of intentional or purposeful discrimination
by Defendant Parks. To the contrary, as already explained, I find that the facts
before the court show that Tate was placed in administrative segregation as a result
of his own actions, including those which led to his initial criminal charges, as well
as his scheme to escape from custody, which he does not deny. Therefore, I further
find that there is no genuine dispute in material fact as to whether any disparate
treatment was the result of intentional or purposeful discrimination by Defendant
Parks.


         Lastly, the court notes that, even if Tate could meet these two elements of
his Equal Protection claim, Parks, nonetheless, would be entitled to summary
judgment because Tate’s placement in administrative segregation is reasonably
related to the legitimate penological interest of maintaining the safety and security
of the institution. See Veney v. Wyche, 293 F.3d 726, 731 (4th Cir. 2002) (quoting
Heller v. Doe, 509 U.S. 312, 319-20 (1993) (Unless a suspect class is involved,
disparate treatment “is presumed to be valid and will be sustained ‘if there is a
rational relationship between the disparity of treatment and some legitimate
governmental purpose.’”)); see also Olech, 528 U.S. at 564 (applying rational basis
review to class-of-one claims).

                                         -16-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 16 of 21 Pageid#: 671
       Next, Tate alleges in his Amended Complaint that Defendant Parks violated
his First Amendment rights by opening and illegally searching his outgoing
nonlegal mail. He also alleges in his Amended Complaint that such mail was
censored, in violation of the First Amendment. I find that Defendant Parks is
entitled to summary judgment on these claims.


       For a nonmedical prison official, such as Defendant Parks, to be found liable
under 42 U.S.C. § 1983, “it must be affirmatively shown that the official charged
acted personally in the deprivation of the plaintiff’s rights.” Wright v. Collins, 766
F.2d 841, 850 (4th Cir. 1985) (internal quotation omitted). In her affidavit, Patrick
testified that, as a result of Tate’s escape attempt and his use of the mail to attempt
to facilitate it, all of Tate’s nonlegal mail was inspected prior to being placed in the
mail. However, Patrick further testified that Defendant Parks was not personally
involved in the inspection of Tate’s or any other inmate’s mail. The only response
Tate offers to Patrick’s testimony is his statement that Parks admitted to his
outgoing mail being searched, but later denied it. He further alluded to the fact that,
as Chief of Security at the Jail, Parks would have been involved in mail inspection.
He stated as follows: “Bryan Parks who was Chief of Security was not personally
involved in the inspection of Tate’s mail. Is that not Security[?]” (Docket Item No.
59 at 18.) I find such statements speculative, at best, and certainly insufficient to
raise a genuine dispute of material fact as to whether Parks searched his outgoing
mail, let alone, did so illegally.


       Therefore, I find that Defendant Parks is entitled to summary judgment on
this claim because there is no genuine dispute in material fact as to whether Parks
was personally involved in the inspection of Tate’s outgoing mail. However, even
if Tate could make such a showing, I would find Parks entitled to summary

                                          -17-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 17 of 21 Pageid#: 672
judgment on alternate grounds. A prison rule that impinges on an inmate’s
constitutional rights is valid “if it is reasonably related to legitimate penological
interests.” Turner v. Safley, 482 U.S. 78, 89 (1987). The Fourth Circuit has held
that the opening and inspecting of an inmate’s outgoing mail is reasonably related
to legitimate penological interests and, therefore, does not violate the First
Amendment. See Altizer v. Deeds, 191 F.3d 540, 547-48 (4th Cir. 1999). The
obvious need to inspect Tate’s outgoing mail is underscored by his use of the mail
to send the coded letter to his wife asking for her assistance to escape from
custody. Because the opening and inspecting of Tate’s outgoing mail was
reasonably related to a legitimate penological interest, I also would find that
Defendant Parks, if he were personally involved in the inspection of Tate’s
outgoing mail, would be entitled to summary judgment on this ground, as well.


      Tate also appears to attempt to raise a First Amendment claim based on
censorship of his outgoing mail. However, the only facts that the court can discern
in support of such a claim are that a letter that was presented to him by the
Commonwealth’s Attorney during a court hearing on May 26, 2017, was never
placed into the United States mail by the Jail. However, Patrick provided sworn
testimony that the Jail did not censor, delete, redact, alter or otherwise fail to
deliver any of Tate’s legal or nonlegal mail. (Patrick Affidavit at 2.) Additionally,
for the same reasons cited above, there is no evidence that Defendant Parks was
personally involved in the inspection of Tate’s or any other inmate’s mail. See
Wright, 766 F.2d at 850.


      For the above-stated reasons, I find that there is no genuine dispute of
material fact regarding Parks’s personal involvement in the inspection of Tate’s
mail. Thus, I further find that there is no genuine dispute of material fact as to

                                        -18-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 18 of 21 Pageid#: 673
whether Defendant Parks violated Tate’s First Amendment rights on his claim of
censorship, and I will enter summary judgment in his favor on this claim.


      Although Tate does not specifically categorize his allegation that he was
denied access to the law library while housed in administrative segregation as a
separate First Amendment violation of denial of access to the courts by Defendant
Parks, liberally construing his Amended Complaint, as this court must, I will
assume Tate intended such a claim. However, for the following reasons, I find that
such a claim fails. First, it appears that Tate is complaining that inmates
incarcerated in administrative segregation lack access to the law library at the Jail.
This, he claims, prevented him from researching specific legal issues related to his
pending charges. It appears that Tate is referring to his underlying criminal
charges. Inmates have a constitutional right to reasonable access to courts to
challenge their convictions or to vindicate their constitutional rights. See Bounds v.
Smith, 430 U.S. 817, 838-41 (1977). However, “Bounds did not create an abstract,
freestanding right to a law library or legal assistance”; these options are means for
ensuring “a reasonably adequate opportunity to present claimed violations of
fundamental constitutional rights to the courts.” Lewis v. Casey, 518 U.S. 343, 351
(1996) (quoting Bounds, 430 U.S. at 825). Bounds requires “only a state-provided
capability to bring an action related to a criminal appeal, collateral attack, or civil
rights violation.” Lacey v. Braxton, 2011 WL 3320801, at *12 (W.D. Va. Aug. 1,
2011) (citing Lewis, 518 U.S. at 356). Thus, it is clear that the right of access to the
courts is rooted in an inmate’s right to redress his grievances, not to defend himself
in a criminal case. Therefore, any argument that Tate makes regarding access to the
courts based on an inability to perform research for his defense in his criminal case
simply is misplaced.


                                          -19-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 19 of 21 Pageid#: 674
      Moreover, in order to prevail on a First Amendment access to courts claim,
an inmate must show a concrete injury. See Lewis, 518 U.S. at 349. A plaintiff
must specifically identify a “non-frivolous legal claim that a defendant’s actions
prevented him from litigating.” Lacey, 2011 WL 3320801, at *12 (citing
Christopher v. Harbury, 536 U.S. 403, 415-16 (2002); Lewis, 518 U.S. at 353 n.3).
Here, Tate alleges no such injury, and the court docket reveals that Tate has been
able to file, among other things, a Complaint, an Amended Complaint and a
response to Defendant Parks’s Motion, thereby undercutting any argument based
on his First Amendment right to access to the courts. It is for these reasons, that I
find that there is no genuine dispute in material fact regarding whether Defendant
Parks denied Tate access to the courts, and I will grant summary judgment in
Parks’s favor on this claim.


      Lastly, Defendant Parks argues that he is entitled to summary judgment on
qualified immunity grounds. I agree. Tate has sued Parks in both his official and
individual capacities for monetary damages and injunctive relief. First, the court
finds that Parks is immune from suit in his official capacity for monetary damages.
See Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989). Additionally, the
doctrine of qualified immunity protects government officials from liability for
violations of constitutional rights that were not clearly established at the time of the
challenged conduct. See Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). In
conducting the qualified immunity analysis, “our first task is to identify the
specific right that the plaintiff asserts was infringed by the challenged conduct.”
Booker v. S.C. Dep’t of Corrs., 855 F.3d 533, 538 (4th Cir. 2017) (quoting Winfield
v. Bass, 106 F.3d 525, 530 (4th Cir. 1997) (en banc)). We then engage in a two-step
inquiry, asking “whether a constitutional violation occurred” and “whether the
right violated was clearly established” at the time of the official’s conduct. Melgar

                                          -20-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 20 of 21 Pageid#: 675
ex rel. Melgar v. Greene, 593 F.3d 348, 353 (4th Cir. 2010). Courts have discretion
to take these steps in either order. See Pearson v. Callahan, 555 U.S. 223, 236
(2009).


      Here, for all the reasons explained above, Tate has not adequately raised a
genuine dispute in material fact as to whether Parks violated any of his
constitutional rights. That being the case, I find that Parks is entitled to qualified
immunity on all of Tate’s claims.


      In conclusion, for all of the reasons stated herein, I find that Defendant Parks
is entitled to summary judgment on all of Tate’s claims against him. Therefore, the
court will grant Parks’s Motion and enter summary judgment in Parks’s favor on
all of Tate’s claims.

      The court will enter an appropriate Order and Judgment.

      ENTERED:            January 9, 2019.

                                       s/ Pamela Meade Sargent
                                        UNITED STATES MAGISTRATE JUDGE




                                         -21-

Case 7:18-cv-00044-PMS Document 71 Filed 01/09/19 Page 21 of 21 Pageid#: 676
